

Matter of Richter (2021 NY Slip Op 03653)





Matter of Richter


2021 NY Slip Op 03653


Decided on June 10, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:June 10, 2021

PM-79-21
[*1]In the Matter of Stephanie Nichole Richter, an Attorney. (Attorney Registration No. 4950200.)

Calendar Date:June 7, 2021

Before:Lynch, J.P., Clark, Aarons, Pritzker and Colangelo, JJ.

Stephanie Nichole Richter, Las Vegas, Nevada, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Stephanie Nichole Richter was admitted to practice by this Court in 2011 and lists a business address in Las Vegas, Nevada with the Office of Court Administration. Richter now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Richter's application.
Upon reading Richter's affidavit sworn to April 21, 2021 and filed April 26, 2021, and upon reading the May 25, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Richter is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Lynch, J.P., Clark, Aarons, Pritzker and Colangelo, JJ., concur.
ORDERED that Stephanie Nichole Richter's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Stephanie Nichole Richter's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Stephanie Nichole Richter is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Richter is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Stephanie Nichole Richter shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








